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Robert C. Weaver, Jr., OSB #801350
E-Mail: rweaver@gsblaw.com
Eric A. Lindenauer, OSB #833721
Email: elindenauer@gsblaw.com
Joseph Arellano, OSB #801518
Email: jarellano@gsblaw.com
Patrick Conti, OSB #141308
Email: pconti@gsblaw.com
GARVEY SCHUBERT BARER
121 SW Morrison Street, 11th Floor
Portland, OR 97204
Telephone: (503) 228-3939

Attorneys for United States District Court,
District of Oregon




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION




In Re:
                                                Case No. 3:17-mc-00348-JCC
MARCUS MUMFORD
                                                DECLARATION OF PATRICK J.
                                                CONTI IN SUPPORT OF OPPOSITION
                                                TO MARCUS MUMFORD’S
                                                PROVISIONAL RESPONSE TO THE
                                                COURT’S ORDER TO SHOW CAUSE;
                                                MEMORANDUM SUPPORTING
                                                PERMANENT PRO HAC VICE
                                                REVOCATION

                                                The Honorable John C. Coughenour
                                                United States District Court Western
                                                District of Washington



 DECLARATION OF PATRICK J. CONTI IN SUPPORT OF OPPOSITION TO MARCUS
    MUMFORD’S PROVISIONAL RESPONSE TO THE COURT’S ORDER TO SHOW
          CAUSE; MEMORANDUM SUPPORTING PERMANENT PRO HAC VICE
                                                        REVOCATION
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         I, Patrick J. Conti, declare as follows:

         I am an attorney at the law firm of Garvey Schubert Barer and represent the United States

District Court of Oregon in the above-captioned matter. I submit this declaration in support of

the Opposition to Marcus Mumford’s Provisional Response to the Court’s Order to Show Cause;

Memorandum Supporting Permanent Pro Hac Vice Revocation.

         1.     Attached as Exhibit 1 is a true and correct copy of Dkt. No. 14-1, which is an

email dated December 2, 2016, from the Hon. Michael Mosman to Marcus R. Mumford and the

Hon. John Coughenour, copied to Lisa Hay.

         2.     Attached as Exhibit 2 is a true and correct copy of the cover page to a Rough

Draft Transcript – Not a Final (Real Time Transcript) for Case Name: USA v. Bundy, 9-8-16.

         3.     Attached as Exhibit 3 is a true and correct copy of an Order filed February 3,

2017, in Tenth Circuit Appellate Case 17-801, In re: Marcus R. Mumford.

         4.     Attached as Exhibit 4 is a true and correct copy of an Order filed March 17, 2017,

in Tenth Circuit Appellate Case 17-801, In re: Marcus R. Mumford.

         I declare, under penalty of perjury, that the foregoing is true and correct to the best

of my knowledge.

         Executed this 12th day of December, 2017.

                                                     s/ Patrick J. Conti
                                                     Patrick Conti
GSB:9160758.1




 DECLARATION OF PATRICK J. CONTI IN SUPPORT OF OPPOSITION TO MARCUS
    MUMFORD’S PROVISIONAL RESPONSE TO THE COURT’S ORDER TO SHOW
          CAUSE; MEMORANDUM SUPPORTING PERMANENT PRO HAC VICE
                                                        REVOCATION
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Subject:    Re:	Cita)ons	issued	to	me
Date:       Friday,	December	2,	2016	at	4:36:36	PM	Mountain	Standard	Time
From:       Michael_Mosman@ord.uscourts.gov	<Michael_Mosman@ord.uscourts.gov>
To:         Marcus	R.	Mumford	<mrm@mumfordpc.com>,	John_Coughenour@wawd.uscourts.gov
            <John_Coughenour@wawd.uscourts.gov>
CC:         Lisa	Hay	<Lisa_Hay@fd.org>
A8achments: ATT00001.jpg

Mr. Mumford,

The judges in this district have been recused from this case. Judge Coughenour in Washington has agreed
to preside. Please direct all further inquiries to him, bearing in mind that this is a contested matter so that ex
parte contact would be inappropriate.




From:        "Marcus R. Mumford" <mrm@mumfordpc.com>
To:      "Michael_Mosman@ord.uscourts.gov" <Michael_Mosman@ord.uscourts.gov>
Cc:        Lisa Hay <Lisa_Hay@fd.org>
Date:       12/02/2016 03:22 PM
Subject:       Re: Citations issued to me




Your honor:
I wanted to thank you for getting back to me with the email below several weeks ago. As I understand from media reports this week, the government has filed materials indicating that it
intends to proceed with this matter. Ms. Hay (who I’m copying on this email) has graciously offered to help me find local counsel to assist in my defense. In the meantime, I would like
to make arrangements to pick up the video surveillance of the incident that you ordered preserved, with any other discovery-type materials you have identified.

What is the best way to pick that up? Ms. Hay has offered to assist, including a willingness to arrange for her office to pick up the surveillance footage for safekeeping, while I make
arrangements to obtain counsel. Would that work?


Also, as I thought through this matter, there are at least two other incidents involving the marshals in the courtroom, and, if possible, I would like to expand my request to include
courtroom video surveillance footage of those incidents as well.

1. The first was, I believe, during a break in trial proceedings either mid-morning or mid-day on October 17, 2016. Judge Brown had granted our request for the in-custody defendants to

                                                                                                                                                                                         Exhibit 1
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remain in the courtroom during a break so that we could jointly discuss trial strategy and the government informant issue that developed in the last several days of trial. As I recall, the
marshals became involved in our joint defense discussion in a way that I did not feel was helpful. When I pointed out that out to them, they confronted me, and began accusing me of
“threatening a U.S. marshal.” At that point, others intervened, but as I recall, it really surprised and bothered me because of how out of character it was for how courtroom marshals
ordinarily conduct themselves. I feel like a record of that incident would assist in my defense in this matter to demonstrate a pattern of overreaction on the marshals’ part, where they
initiated conflict unnecessarily.


2. The second is the hearing in Judge Jones’ courtroom that I described in my original email below. I believe it was October 7, 2016, at approximately 1 or 1:30 p.m. As I recall, one of
the two marshals in attendance raised his voice in an abusive manner at Judge Jones. While I am not certain that any video surveillance footage would be relevant, it may be because, as
I explained in my original email, I feel like the marshal yelling at Judge Jones was one of the primary instigators in the October 27th incident. Also, as I recall, the marshals attending
the hearing that day described an in camera meeting they had with Judge Jones prior to the hearing, which I did not attend or know about before it was mentioned in the hearing. If
possible, I would like to know if there is any record of the October 7th hearing or the in camera meeting between the marshals and Judge Jones. This request is lower priority than my
requests for the video surveillance of the incidents on October 17th and 27th, but I would appreciate any effort that could be made to identify and gather these materials as well.


Thank you in advance for your time and consideration in these matters. Please let me know if you have any questions.
-Marcus


--	
Marcus	R.	Mumford*
405	South	Main,	Suite	975
Salt	Lake	City,	Utah	84111
Tel	801.428.2000
mrm@mumfordpc.com
*AdmiZed	in	California,	New	York,	Idaho	and	Utah


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no)fy	the	sender	immediately.	


TAX	ADVICE:	IRS	Rules	of	Prac)ce	require	that	we	inform	you	that	advice,	if	any,	in	this	email	concerning	federal	tax	maZers	is	not	intended	to	be	used,	and	cannot	be	used,	for	the
purposes	of	avoiding	penal)es	under	the	Internal	Revenue	Code	nor	for	promo)ng,	marke)ng	or	recommending	to	another	party	any	transac)on	or	maZer	addressed	herein.




From:	"Michael_Mosman@ord.uscourts.gov"
Date:	Saturday,	October	29,	2016	at	7:56	PM
To:	Marcus	Mumford
Cc:	"Anna_J_Brown@ord.uscourts.gov",	"robert_jones@ord.uscourts.gov"
Subject:	Re:	Cita)ons	issued	to	me

Mr. Mumford,


I have just returned to Portland from a week away in D.C. I am getting up to speed on these issues, and hope to learn more on Monday. In the meantime, I can confirm that I have
ordered preservation of all surveillance footage. In light of Judge Brown's family health emergency, please direct all future inquiries solely to me.
Thank you,


Chief Judge Michael W. Mosman
District of Oregon

Sent from my iPad

On Oct 29, 2016, at 2:35 PM, Marcus R. Mumford <mrm@mumfordpc.com> wrote:

Your Honors,
I have not received any response to the email I sent below. But I was informed by media outlets that the U.S. Marshals Service had the guile to issue the attached press release, which
contains false characterizations of the events in question. For me, this increases the need for your Court to respond to confirm the preservation and production of surveillance footage. I
request the courtesy of an immediate response to my requests.
-Marcus Mumford


From:	Marcus	Mumford
Date:	Friday,	October	28,	2016	at	11:43	AM
To:	"Michael_Mosman@ord.uscourts.gov",	"Anna_J_Brown@ord.uscourts.gov"
Cc:	"robert_jones@ord.uscourts.gov"
Subject:	Cita)ons	issued	to	me

Your Honors,
When I was admitted pro hac vice to your court in June in the case, US v. Bundy, et al., 3:16-cr-00051-BR, I recall being reminded that I was a guest. I always tried to respect that fact. I
wanted to thank you for the professionalism I’ve experienced here since that time. As I said to you, Judge Brown, when being escorted from the courtroom yesterday, it’s been an honor
to practice in front of you. No matter our differences, for me, it never extended beyond any particular ruling, and to see the indefatigable effort that you put into such a difficult and

                                                                                                                                                                                       Exhibit 1
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important case inspired me to try and give just as much effort on behalf of my client. And, as I frequently shared with co–defendants’ counsel and my own client, it was a further honor
to see how much your Court invests in providing indigent defense. The quality of lawyering that I observed from the federal defenders and CJA panel attorneys that I had the honor of
working with is head and shoulders above any of the other federal courts I’ve practiced in front of.

So it is with deep regret that I write concerning the citations I received following the jury’s verdict. I received two US District Court citations charging me under the CFR for impeding
the performance of official duties and failure to comply with lawful directive.

Regarding the situation, I had understood that, following the verdict, Judge Brown acknowledged that my client was released from her supervision, to which I responded by asking the
marshals to show me the paperwork that authorized them to retain my client in custody. Contrary to some news reports, it was not an escalating situation. After Judge Brown
admonished me for raising my voice, I recall leaning into the microphone so as to make that unnecessary as I tried to explain my understanding and position on the issue. I tried to
explain how this was related to the issue I had attempted to raise in July regarding the improper dual prosecution of my client in two separate jurisdictions. For me, the issue was also
related to the dispute that I do not believe has been resolved as to whether my client was arrested with a lawful warrant in the first place last January.

Further, I understand that the marshals refused and ignored Judge Brown’s orders to stand down, going so far as to hit me with the taser gun after they put me on the ground with my
hands behind my back. I would request that the court investigate the marshals for contempt. I will also tell you that, when my office continued to request paperwork last night from the
marshals’ office authorizing their retention of my client, we were informed that the marshals either did not have any such paperwork or could not locate it. Personally, I believe two of
the primary instigators of this whole affair were the same marshals who had treated Judge Jones with such disrespect at a hearing a few weeks earlier when he asked them to explain
why they revoked the contact visits that Judge Jones had helped arrange for us.


I intend to defend myself against the citations issued. In furtherance of that, I request that your Court preserve and provide to me any and all evidence that would show what happened,
including any video and/or recorded surveillance, and all communications involving the marshals and/or court staff. I understand that may include the video feed to the 13th floor
courtroom, and perhaps a court reporter’s recording.


Informally, I will tell you that I am willing to engage in a discussion with the Court about where it feels my conduct did not live up to the expectations of a zealous advocate. I am eager
to address and resolve this matter.


Thank you in advance for your time and consideration.
-Marcus
--	
Marcus	R.	Mumford*
405	South	Main,	Suite	975
Salt	Lake	City,	Utah	84111
Tel	801.428.2000
mrm@mumfordpc.com
*AdmiZed	in	California,	New	York,	Idaho	and	Utah


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TAX	ADVICE:	IRS	Rules	of	Prac)ce	require	that	we	inform	you	that	advice,	if	any,	in	this	email	concerning	federal	tax	maZers	is	not	intended	to	be	used,	and	cannot	be	used,	for	the
purposes	of	avoiding	penal)es	under	the	Internal	Revenue	Code	nor	for	promo)ng,	marke)ng	or	recommending	to	another	party	any	transac)on	or	maZer	addressed	herein.
<Bundy US Marshall Press Release.pdf>




                                                                                                                                                                                     Exhibit 1
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                   ROUGH DRAFT TRANSCRIPT - NOT A FINAL


ROUGH DRAFT - NOT A FINAL TRANSCRIPT

                          *** ROUGH DRAFT TRANSCRIPT ***

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CASE NAME: USA v. Bundy

9-8-16

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               This is an unedited, unproofread, uncertified

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purposes.

               This raw transcripts may contain the following:

               1. Conflicts - an apparently wrong word that has the

same stenotype stroke as a less-used word. Conflicts are

remedied by the reporter in editing.

               2. Untranslates/Misstrokes - a stenotype stroke

appears on the screen as the result of the computer dictionary

not having the stroke previously identified or a misstroke or

partial translation of the word.

               3. Reporters' notes - a parenthetical word or phrase

from the reporter. Since the reporter must write each word

instantly, a misunderstood word or phrase will not be apparent

until some time later. Reporter's notes provide the

opportunity to correct such situations.

                                   ____________________

                                   REALTIME TRANSCRIPT



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                                                                                        FILED
                                                                            United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                               February 3, 2017
                          _________________________________
                                                                                Elisabeth A. Shumaker
                                                                                    Clerk of Court
 In re: MARCUS R. MUMFORD                         No. 17-801
                    _________________________________

                                       ORDER
                          _________________________________

        Marcus Mumford is retained counsel for the defendant-appellant in Tenth Circuit

 Appeal No. 16-4143, United States v. Riddle. In that appeal, Mr. Mumford filed three

 motions for extension of time to file his client’s opening brief. Two of those motions

 failed to comply with 10th Cir. R. 27.5. Nevertheless, the court granted the motions and

 extended the opening brief deadline to January 17, 2017. That deadline came and went

 without Mr. Mumford filing his client’s opening brief. Three days later, Mr. Mumford

 filed the opening brief, along with a motion for leave to file the brief out of time.

        On February 2, 2017, the court granted Mr. Mumford’s motion and accepted his

 client’s late brief. In doing so, the court had occasion to review numerous other Tenth

 Circuit appeals in which Mr. Mumford failed to file a brief, petition or response to a court

 order by the applicable deadline, which was often extended multiple times prior to the

 late filing. See, e.g., 16-4109, United States v. Joseph (late brief); 16-4091, Utah

 Republican Party, et al. v. Cox (late brief); 16-4058, Utah Republican Party, et al. v.

 Herbert (late appendix); 15-4190, United States v. Drage (late brief); 14-4107, United

 States v. Koerber (failure to file entry of appearance; late oversize brief); 14-4101, In re:

 Mower, et al. (late petition for rehearing); 14-4085, Dutcher, et al. v. Matheson, et al.




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 (late opening brief and appendix; late reply brief); 13-4090, United States v. Johnson

 (late opening and reply briefs); 12-4150, Dutcher, et al. v. Matheson, et al. (late opening

 brief and appendix); 12-601, Koerber v. United States (failure to respond to order to show

 cause; late response after deadline extended). In many of those appeals, Mr. Mumford

 filed motions for extensions of time and/or motions for leave to file documents out of

 time that did not comply with this court’s rules regarding the timing of such motions

 (10th Cir. R. 27.5) and seeking the opposing party’s position regarding the relief

 requested (10th Cir. R. 27.1).

        In light of the foregoing, the court is concerned that Mr. Mumford’s behavior

 evinces a pattern and practice of disregard for this court’s rules, orders and deadlines. As

 a result, Mr. Mumford was referred to the court’s attorney discipline panel, which

 resulted in the opening of this proceeding.

        Within 20 days of the date of this order, Mr. Mumford may show cause in writing

 why he should not be subject to discipline including, but not limited to, monetary

 sanctions and/or suspension from the bar of this court. Failure to file a timely response to

 this order constitutes acquiescence in the imposition of discipline by this court.


                                               Entered for the Court,

                                               ELISABETH A. SHUMAKER, Clerk



                                               by: Chris Wolpert
                                                   Chief Deputy Clerk




                                               2

                                                                                    Exhibit 3
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                                                                                      FILED
                                                                          United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                           Tenth Circuit

                              FOR THE TENTH CIRCUIT                               March 17, 2017
                          _________________________________
                                                                              Elisabeth A. Shumaker
                                                                                  Clerk of Court
 In re: MARCUS R. MUMFORD                         No. 17-801
                    _________________________________

                                       ORDER
                          _________________________________

 Before TYMKOVICH, Chief Judge, KELLY, and PHILLIPS, Circuit Judges.
                  _________________________________

        This matter is before us on Marcus R. Mumford’s Response to Order to Show

 Cause and Motion to Accept Late Response. Mr. Mumford’s Motion to Accept Late

 Response is granted, and the request for a hearing contained in his Response is denied.

 Our February 3, 2017 order to show cause is discharged as follows.

        Upon careful consideration of Mr. Mumford’s response, we have concluded that

 an admonishment is sufficient to resolve this matter at this time. Mr. Mumford’s failure

 to comply with this court’s deadlines, rules and directives is inconsistent with the

 standards of practice required of attorneys admitted to appear before this court. Mr.

 Mumford is cautioned that his failure to fully resolve the issues set forth in our February

 3, 2017 order to show cause will result in the imposition of further discipline up to and




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 including disbarment from the bar of this court.


                                              Entered for the Court
                                              ELISABETH A. SHUMAKER, Clerk




                                              by: Chris Wolpert
                                                    Chief Deputy Clerk




                                                                                   Exhibit 4
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